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                                         U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                   February 19, 2020

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Michael Avenatti,
              S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

       Pursuant to the Court’s direction on the record on February 12, 2020, the Government
submits the PowerPoint presentation used during its summation on February 11, 2020.



                                                   Respectfully submitted,

                                                   GEOFFREY S. BERMAN
                                                   United States Attorney

                                           By:     s/ Matthew D. Podolsky
                                                   Matthew D. Podolsky
                                                   Daniel C. Richenthal
                                                   Robert B. Sobelman
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                                                   (212) 637-1947/2109/2616

Attachment

cc:    (by ECF)

       Counsel of Record
